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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES - GENERAL
 Case No.          CV19-2058 CAS (AGRx)                                          Date   August 26, 2019
 Title             Immigrant Defenders Law Center, et al. v. United States Immigration and Customs
                   Enforcement, et al.



 Present: The Honorable            CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
         Stephen Montes Kerr                                Laura Elias                         N/A
                 Deputy Clerk                        Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                    Alexandra Achamallah                                  Matthew Barragan, AUSA
                        Jessica Bansal                                    Alarice Medrano, AUSA
 Proceedings:                 SCHEDULING CONFERENCE

         Cause called; appearances made.

      Scheduling conference is not held. The Court and counsel confer regarding the
pending Freedom of Information Act (“FOIA”) and the Vaugh Index. The Court
continues the Scheduling Conference to October 21, 2019, at 11:00 a.m. at which time
the parties should be prepared to update the Court on their search results and production
of documents.




                                                                                        00      :       10
                                                               Initials of Preparer          CMJ




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